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Nathan Ochsner
Clerk of Court

P. O. Box 61010
Houston, TX 77208
Date: Dec. 3, 2024
Via USPS Mail

Burke v. PHH Mortgage Corporation (4:24-cv-00897)
Reassigned to: Judge Eskridge/Magistrate Judge Bryan

District Court, S.D. Texas

Dear Sir or Madam,

JOANNA BURKE'S FILINGS IN THIS CASE

I would like to ask why my Express USPS Mail enclosing my legal pleadings, which
arrived on November 15, 2024, have not been filed on the court's docket. I received

- this confirmation-from USPS:

Hello Joanna Burke,

Your item was picked up at postal facility at 9:06 am on November 15, 2024 in

HOUSTON, TX 77208.
The item was signed for by H LERMA.

Tracking Number: 9481730109355000137813

Package Shipped from: HQ - ECNS

Delivered, Individual Picked Up at Postal Facility.

I would be obliged if you could locate the package and ensure that these important
~~ -. and timely filed pleadings are added to the court’s docket without further delay.

If you have any questions, please contact me at the information bélows-~—--—-
Thank you.
Sincerely,

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Nathan Ochsner, Clerk of Court

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Joanna Burke

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46 Kingwood Greens Dr.,
'— Kingwood, TX, 77339
Email: joanna@2dobermans.com
Fax: +1 (866) 705-0576

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